IN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

In re:

M & o USA coRPoRATIoN, er az.,l

Debtors.

 

Chapter 1 1

Case No. 17-123 07 (BLS)
(Jointly Administered)

Obj. Deadline: August 30, 2018 at 4:00 p.m. (ET)
Hearing Date: Scheduled only if Necessary

SEVENTH MONTHLY APPLICATION FOR COMPENSATION
AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
ZIEHL & JONES LLP, AS CO-COUNSEL AND CONFLICTS
COUNSEL FOR THE DEBTORS AND DEBTORS IN POSSESSION,
FOR 'I`HE PERIOD FROM MAY 1, 2018 THROUGH MAY 31, 2018

 

Name of Applicant:

Pachulski Stang Ziehl & J ones LLP

 

Authorized to Provide Professional Services
to:

Debtors and Debtors in Possession

 

Date of Retention:

Nunc Pro Tunc to October 30, 2017 by order
signed November 30, 2017

 

Period for which Compensation and
Reimbursement is Sought:

May 1, 2018 through May 31, 20182

 

Amount of Compensation Sought as Actual,
Reasonable and Necessary:

$71,813.50

 

 

Amount of EXpenSe Reimbursement Sought
as Actual, Reasonable and Necessary:

 

$ 2,346.45

 

This is a: X monthly interim

 

final application.

1 The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): l\/.[ & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2195),

Mossi & Ghisolfi lnternational S.a r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.a r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
Investments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,

Houston, TeXas 77067.

2 The applicant reserves the right to include any time expended in the time period indicated above in future

application(s) if it is not included herein.

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The total time expended for fee application preparation is approximately 3.0 hours

and the corresponding compensation requested is approximately $l,000.00.

PRIOR APPLICATIONS FILED

 

  
   

  

 

     

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

    

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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03/05/18 10/30/17 ~11/30/17 $243,369.00 829,125.63 $243,369.00 $29,125.63
03/06/18 12/01/17-12/31/17 $183,773.00 $17,938.11 $183,773.00 817,938.11
03/26/18 01/01/18~01/31/18 8162,408.00 $ 9,185.48 8162,408.00 $ 9,185.48
05/22/18 02/01/18 - 02/28/18 $106,150.00 $ 4,795.64 $ 84,920.00 $ 4,795.64
05/31/18 03/01/18-03/31/18 $180,169.00 $10,630.80 $144,135.20 810,630.80
07/02/18 04/01/18 ~ 04/30/18 $ 49,685.50 $ 5,209.70 $ 39.748.40 $ 5,209.70
PSZ&J PROFESSIONALS
Laura Davls Jones Partner 2000; Jomed Frrm 2000; $1,145.00 12.10 813,854.50
Member of DE Bar since 1986
James E. O’Neill Partner 2005; Member of DE Bar $ 850.00 30.60 $26,010.00
since 2001; Member of PA Bar
since 1985
William L. Ramseyer Of Counsel 1989: Member of CA $ 725.00 4.30 $ 3,117.50
Bar since 1980
Joseph M. Mulvihill Associate 2015; Member of DE 8 495.00 39.40 $19,503.00
Bar since 2014; Member of PA
Bar since 2015
Elizabeth C. Thomas Paralegal 2016 $ 375.00 10.90 $ 4,087.50
Cheryl A. Knotts Paralegal 2000 $ 350.00 2.50 $ 875.00
Sheryle L. Pitman Case Management Assistant 2001 $ 295.00 6.50 $ 1,917.50
Charles J. Bouzoul<is Case Management Assistant 2001 $ 295.00 4.20 $ 1,239.00
Karen S. Neil Case Management Assistant 2003 $ 295.00 4.10 $ 1,209.50
Grand Total: $71,813.50
Total Hours: 114.60
Blended Rate: $ 626.64

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COMPENSATION BY CATEG()RY

 

  

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8 Appeals

 

 

 

 

 

 

 

 

 

 

 

 

 

 

10.10 8 8,051.50
Bankruptcy Litigation 46.00 828,086.50
Case Administration 11.80 8 3,697.00
Claims Admin/Obj ections 0.30 8 343.50
Compensation of Professional 7.90 8 4,944.00
Compensation of Prof/Others 3.50 8 1,801.50
Financial Filings 0.60 8 297.00
Financing 20.60 814,144.50
Plan & Disclosure Statement 12.40 8 9,258.00
Stay Litigation 1.40 8 1,190.00

 

Con;t`erence Call

Delive /Courier Service
Le al Research

Outside Services

Court Research

R uction nse
R roduction/ Scan Co
Transcri t

 

EXPENSE SUMMARY

CourtCall
Advita
Lexis/Nexis
Roadrunner
Pacer

Reliable Com

$199.00
8341.00
8 13.10

8 89.60
8378.70
8245.60
8351.90
8727.55

 

3 PSZ&J may use one or more service providers The service providers identified herein below are the primary
service providers for the categories described

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lN THE UNITED STATES BANKRUPTCY COURT

FOR THE DISTRICT OF DELAWARE

 

ln rel : Chapter 11
M & G USA CORPORATION, er al.,l Case NO, 17-123()7 (BLS)
Debtors. (Jointly Administered)

 

Obj. Deadline: August 30, 2018 at 4:00 p.m. (ET)
Hearing Date: Scheduled only if Necessary

SEVENTH MONTHLY APPLICATION FOR C()MPENSATION
AND REIMBURSEMENT OF EXPENSES OF PACHULSKI STANG
ZIEHL & JONES LLP, AS CO-C()UNSEL AND C()NFLICTS
COUNSEL FOR THE DEBT()RS AND DEBTORS IN POSSESSION,
FOR THE PERIO]) FROM MAY 1, 2018 THR()UGH MAY 31, 2018

Pursuant to sections 330 and 331 of Title 11 of the United States Code (the
“Banl<ruptcy Code”), Rule 2016 of the Federal Rules of Bankruptcy Procedure (collectively, the
“Banl<ruptcy Rules”), and the Court’s “Order Establishing Procedures for lnterim Compensation
and Reimbursement of Expenses of Professionals,” signed on or about November 30, 2017 (the
“Administrative Order”), Pachulski Stang Ziehl & J ones LLP (“PSZ&J” or the “Firm”), co-
counsel and conflicts counsel for the debtors and debtors in possession (“Debtors”), hereby
submits its Seventh Monthly Application for Compensation and for Reimbursement of Expenses

for the Period from May 1, 2018 through May 31, 2018 (the “Application”).

 

1 The Debtors are the following twelve entities (the last four digits of their respective taxpayer identification
numbers follow in parentheses): M & G USA Corporation (3449), M & G Resins USA, LLC (3236), M & G
Polymers USA, LLC (7593), M & G Finance Corporation (4230), M&G Waters USA, LLC (2l95),

Mossi & Ghisolfi lnternational S,a r.l. (1270), M&G Chemicals S.A. (N/A), M&G Capital S.a r.l. (7812), M & G
USA Holding, LLC (3451), Chemtex International Inc. (7695), Chemtex Far East, Ltd. (2062) and Indo American
lnvestments, Inc. (9208). The Debtors' noticing address in these chapter 11 cases is 450 Gears Road, Suite 240,
Houston, Texas 77067.

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By this Application PSZ&J seeks a monthly interim allowance of compensation
in the amount of 871,813.50 and actual and necessary expenses in the amount of 82,346.45 for a
total allowance of 874,159.95 and payment of 857,450.80 (80% of the allowed fees) and
reimbursement of 82,346.45 (100% of the allowed expenses) for a total payment of 859,797.25
for the period l\/lay 1, 2018 through May 31, 2018 (the “Interim Period”). ln support of this
Application, PSZ&J respectfully represents as follows:

Background

1. On October 24, 2017, Debtor M&G Polymers USA, LLC filed a voluntary
petition for relief under chapter 11 of the Bankruptcy Code and, thereafter, on October 30, 2017,
each of the other Debtors commenced chapter 11 cases before this Court. The Debtors continue
in possession of their property and continue to operate and manage their businesses as debtors in
possession pursuant to sections 1107(a) and 1108 of the Bankruptcy Code. No trustee or
examiner has been appointed in the Debtors’ chapter 11 cases.

2. The Court has jurisdiction over this matter pursuant to 28 U.S.C. §§ 157
and 1334. This is a core proceeding pursuant to 28 U.S.C. § 157(b)(2).

3. 0n or about November 30, 2017, the Court signed the Administrative
Order, authorizing certain professionals (“Professionals”) to submit monthly applications for
interim compensation and reimbursement for expenses, pursuant to the procedures specified
therein. The Administrative Order provides, among other things, that a Professional may submit
monthly fee applications If no objections are made within twenty-one (21) days after service of

the monthly fee application the Debtors are authorized to pay the Professional eighty percent

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(80%) of the requested fees and one hundred percent (100%) of the requested expenses
Beginning with the period ending on January 31, 2018, at three-month intervals, each of the
Professionals will file and serve an interim fee application for compensation and reimbursement
of expenses sought in its monthly fee applications for that period. All fees and expenses paid are
on an interim basis until final allowance by the Court.

4. The retention of PSZ&J, as co-counsel and conflicts counsel for the
Debtors, was approved effective as of October 30, 2017 by this Court’s “Order Pursuant to
Section 327(a) of the Banl<ruptcy Code, Rule 2014 of the Federal Rules of Bankruptcy Procedure
and Local R_ule 2014-1 Authorizing the Employment and Retention of Pachulski Stang Ziehl &
J ones LLP as Co-Counsel and Contlicts Counsel for the Debtors and Debtors in Possession Nunc
Pro Tunc to the Petition Date,” signed on or about November 30, 2017 (the “Retention Order”).
The Retention Order authorized PSZ&J to be compensated on an hourly basis and to be
reimbursed for actual and necessary out-of-pocket expenses

PSZ&J’s APPLICATION FOR COMPENSATION AND
F()R REIMBURSEMENT OF EXPENSES

Compensation Paid and Its Source
5. All services for which PSZ&J requests compensation were performed for
or on behalf of the Debtors
6. PSZ&J has received no payment and no promises for payment from any
source other than from the Debtors for services rendered or to be rendered in any capacity
whatsoever in connection with the matters covered by this Application. There is no agreement or

understanding between PSZ&J and any other person other than the partners of PSZ&J for the

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sharing of compensation to be received for services rendered in this case. PSZ&J has received
payments from the Debtors during the year prior to the Petition Date in the amount of 8200,000,
in connection with the preparation of initial documents and its prepetition representation of the
Debtors Upon final reconciliation of the amount actually expended prepetition, any balance
remaining from the prepetition payments to PSZ&J was credited to the Debtors and utilized as
PSZ&J’s retainer to apply to postpetition fees and expenses pursuant to the compensation
procedures approved by this Court in accordance with the Bankruptcy Code.
Fee Statements

7. The fee statements for the Interim Period are attached hereto as Exhibit A.
These statements contain daily time logs describing the time spent by each attorney and
paraprofessional during the Interim Period. To the best of PSZ&J’s knowledge, this Application
complies with sections 330 and 331 of the Bankruptcy Code, the Bankruptcy Rules and the
Administrative Order. PSZ&J’s time reports are initially handwritten by the attorney or
paralegal performing the described services The time reports are organized on a daily basis
PSZ&J is particularly sensitive to issues of “lumping” and, unless time was spent in one time
frame on a variety of different matters for a particular client, separate time entries are set forth in
the time reports PSZ&J’s charges for its professional services are based upon the time, nature,
extent and value of such Services and the cost of comparable services other than in a case under
the Bankruptcy Code. PSZ&J has reduced its charges related to any non-working “travel time”
to fifty percent (50%) of PSZ&J’s standard hourly rate. To the extent it is feasible, PSZ&J

professionals attempt to work during travel.

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Actual and Necessarv Expenses

8. A summary of actual and necessary expenses incurred by PSZ&J for the
lnterim Period is attached hereto as part of Exhibit A. PSZ&J customarily charges 80.10 per
page for photocopying expenses related to cases, such as this one, arising in Delaware. PSZ&J’s
photocopying machines automatically record the number of copies made when the person that is
doing the copying enters the client’s account number into a device attached to the photocopier.
PSZ&J summarizes each client’s photocopying charges on a daily basis

9. PSZ&J charges 80.25 per page for out-going facsimile transmissions
There is no additional charge for long distance telephone calls on faxes. The charge for outgoing
facsimile transmissions reflects PSZ&J’s calculation of the actual costs incurred by PSZ&J for
the machines, supplies and extra labor expenses associated with sending telecopies and is
reasonable in relation to the amount charged by outside vendors who provide similar services
PSZ&J does not charge the Debtors for the receipt of faxes in these cases

10. With respect to providers of on-line legal research services (e.g., LEXIS
and WESTLAW), PSZ&J charges the standard usage rates these providers charge for
computerized legal research. PSZ&J bills its clients the actual amounts charged by such
services, with no premium. Any volume discount received by PSZ&J is passed on to the client.

11. PSZ&J believes the foregoing rates are the market rates that the majority
of law firms charge clients for such services ln addition, PSZ&J believes that such charges are

in accordance with the American Bar Association’s (“ABA”) guidelines as set forth in the

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ABA’s Statement of Principles, dated January 12, 1995, regarding billing for disbursements and
other charges
Sumniarv of Services Ren¢lered

12. The names of the partners and associates of PSZ&J who have rendered
professional services in this case during the Interim Period, and the paralegals and case
management assistants of PSZ&J who provided services to these attorneys during the Interim
Period, are set forth in the attached Exhibit A.

13. PSZ&J, by and through such persons, has prepared and assisted in the
preparation of various motions and orders submitted to the Court for consideration, advised the
Debtors on a regular basis with respect to various matters in connection with the Debtors’
bankruptcy cases, and performed all necessary professional services which are described and
narrated in detail below. PSZ&J’s efforts have been extensive due to the size and complexity of
the Debtors’ bankruptcy cases

Summarv of Services by Proiect

14. The services rendered by PSZ&J during the Interim Period can be grouped
into the categories set forth below. PSZ&J attempted to place the services provided in the
category that best relates to such services However, because certain services may relate to one
or more categories services pertaining to one category may in fact be included in another
category. These services performed, by categories are generally described below, with a more
detailed identification of the actual services provided set forth on the attached Exhibit A. Exhibit

A identifies the attorneys and paraprofessionals who rendered services relating to each category,

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along with the number of hours for each individual and the total compensation sought for each
category.

A. Appeals

15. This category relates to work regarding appellate issues During the

lnterim Period, the Firm, among other things: (1) performed work regarding the Bancomext
mediation letter; (2) monitored the status of the Bancomext appeal; (3) performed work
regarding counter designations in the Bancomext matter; (4) performed work regarding a motion
to seal in the Bancomext matter; (5) performed research; (6) performed work regarding

mediation issues; and (7) corresponded and conferred regarding appellate issues

Fees: 88,051.50; Hours: 10.10

B. Bankruptcy Litigation

16. This category relates to work regarding motions or adversary proceedings
in the Bankruptcy Court. During the Interim Period, the Firm, among other things: (1) reviewed
and analyzed issues regarding the Comerica motion to dismiss Bancomext complaint;
(2) attended to WARN Act issues; (3) attended to notice issues; (4) attended to deadline issues;
(5) reviewed and analyzed a briefing schedule and stipulation; (6) attended to scheduling issues;
(7) reviewed and analyzed an objection to settlement motion; (8) performed work regarding
Agenda Notices and Hearing Binders; (9) performed work regarding a reply to objection to
settlement agreement; (10) performed work regarding an order relating to settlement agreement;

(11) prepared for and attended hearings on May 17 and 24, 2018; (12) performed work regarding

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a motion to extend the removal deadline; (13) attended to motion to dismiss issues; and

(14) corresponded and conferred regarding bankruptcy litigation issues

Fees: 828,086.50; Hours: 46.00

C. Case Administration
17. This category relates to work regarding administration of this case.
During the lnterim Period, the Firm, among other things, maintained a memorandum of critical

dates, and maintained document control.

Fees: 83,697.00; Hours: 11.80

D. Claims Administration and Objections
18. This category relates to work regarding claims administration and claims
objections During the lnterim Period, the Firm, among other things, corresponded regarding

creditor inquiries

Fees: 8343.50; Hours: 0.30

E. Compensation of Professionals
19. This category relates to issues regarding compensation of the Firm.
During the lnterim Period, the Firm, among other things, performed work regarding its February
2018 monthly fee application, drafted its March 2018 monthly fee application, and monitored the

status and filing of fee applications

Fees: 84,944.00; Hours: 7.90

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F. Compensation of Professionals--Others
20. This category relates to issues regarding compensation of professionals
other than the Firm. During the lnterim Period, the Firm, among other things, performed work

regarding the Rothschild, J ones Day, Crain Caton and Alvarez Marsal matters

Fees: 81,801.50; Hours: 3.50

G. Financial Filings
21. This category relates to issues regarding compliance with reporting
requirements During the lnterim Period, the Firm, among other things, performed work

regarding Monthly Operating Reports.

Fees: 8297.00; Hours: 0.60
H. Financing
22. This category relates to issues regarding Debtor in Possession financing

and use of cash collateral. During the lnterim Period, the Firm, among other things:

(1) attended to confidentiality issues; (2) performed work regarding a cash management order,
and reviewed and analyzed cash management issues; (3) performed work regarding a bridge
motion; (4) performed work regarding a stipulation with Banco do Brasil; and (5) corresponded

and conferred regarding financing issues

Fees: 814,144.50; Hours: 20.60

I. Plan and Disclosur'e Statemth
23. This category relates to work regarding a Plan of Reorganization (“Plan”)

and Disclosure Statement. During the lnterim Period, the Firm, among other things:

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(1) performed research; (2) reviewed and analyzed Plan issues; and (3) performed work

regarding a solicitation motion.

Fees: 89,258.00; Hours: 12.40

J. Stay Litigation
24. This category relates to work regarding the automatic stay and relief from
stay motions During the lnterim Period, the Firm, among other things performed work
regarding a stipulation and order in the Eastman Chemical matter, and corresponded regarding
stay litigation issues
Fees: 81,190.00; Hours: 1.40

Valuation of Ser'vices

25. Attorneys and paraprofessionals of PSZ&J expended a total 114.60 hours

in connection with their representation of the Debtors during the lnterim Period, as follows:

 

 

 

 

 

Laura Davis Jones Partner 2000; Joined Firm 2000; 81,145.00 12.10 813,854.50
Member of DE Bar since 1986

James E. O’Neill Partner 2005; Member of DE Bar 8 850.00 30.60 826,010.00
since 2001; Member of PA Bar
since 1985

 

William L. Ramseyer Of Counsel 1989: Member of CA 8 725.00 4.30 8 3,117.50
Bar since 1980

 

Joseph l\/I. Mulvihill Associate 2015; Member of DE 8 495 .00 39.40 819,503.00
Bar since 2014; Member of PA

 

 

 

 

 

 

 

 

 

Bar since 2015
Elizabeth C. Thomas Paralegal 2016 8 375.00 10.90 8 4,087.50
Cheryl A. Knotts Paralegal 2000 8 350.00 2.50 8 875.00
Sheryle L. Pitman Case Management Assistant 2001 8 295.00 6.50 8 1,917.50

 

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Karen S.Neil Case Management Assistant 2003 8 295.00 4.10 8 1,209.50

 

 

 

 

 

 

 

 

Grand Total: 871,813.50
Total Hours: 114.60
Blended Rate: 8 626.64

26. The nature of work performed by these persons is fully set forth in Exhibit
A attached hereto. These are PSZ&J’s normal hourly rates for work of this character. The
reasonable value of the services rendered by PSZ&J for the Debtors during the lnterim Period is
87 1 ,8 1 3 , 5 0.

27. In accordance with the factors enumerated in section 330 of the
Bankruptcy Code, it is respectfully submitted that the amount requested by PSZ&J is fair and
reasonable given (a) the complexity of the case, (b) the time expended, (c) the nature and extent
of the services rendered, (d) the value of such services and (e) the costs of comparable services
other than in a case under the Bankruptcy Code. l\/loreover, PSZ&J has reviewed the
requirements of Del. Bankr. LR 2016-2 and the Administrative Order and believes that this
Application complies with such Rule and Order.

WHEREFORE, PSZ&J respectfully requests that, for the period May 1, 2018
through May 31, 2018, an interim allowance be made to PSZ&J for compensation in the amount
of 871,813.50 and actual and necessary expenses in the amount of 82,346.45 for a total

allowance of 874,159.95 and payment of 857,450.80 (80% of the allowed fees) and

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reimbursement of 82,346.45 (100% of the allowed expenses) be authorized for a total payment of

859,797,25, and for such other and further relief as this Court may deem just and proper.

Daied; Augusi 1,2018

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PACHULSKI STANG ZIEHL & JONES LLP

`sJones (DE Bar No. 2436)
James E. O’Neill (DE Bar No 4042)
Joseph l\/l. Mulvihill (DE Bar No 6061)

919 N. Market Street,17thFloor

P.O. Box 8705

Wilmington, DE 19899-8705 (Courier 19801)
Telephone: (302) 652-4100

Facsimile: (302) 652-4400

 

Co-Counsel and Conflicts Counsel for the
Debtors and Debtors in Possession

12

VERIFICATION

STATE OF DELAWARE

COUNTY OF NEW CASTLE :

Laura Davis Jones after being duly sworn according to law, deposes and says:

a) 1 am a partner with the applicant law firm Pachulski Stang Ziehl & J ones
LLP, and have been admitted to appear before this Court.

b) l am familiar with the work performed on behalf of the Debtors by the
lawyers and paraprofessionals of PSZ&J.

c) l have reviewed the foregoing Application and the facts set forth therein
are true and correct to the best of my knowledge, information and belief. Moreover, 1 have
reviewed Del. Bankr. LR 2016-2 and the Administrative Order signed on or about November 30,

2017, and submit that the Application substantially complies with such Rule and Order.

 
    
 
 

aura Davis J ones

SWORN AND SUBSCRIBED ,

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